        Case 3:11-cr-03845-BEN                             Document 48                  Filed 10/19/11                 PageID.117
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     'AO 245B (CASD) (Rev. 8111)       Judgment in a Criminal Case
                 Sheet 1



                                                 UNITED STATES DISTRICT COURT
                                                       SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                 ------
                      UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                            v.                                              (For Offenses Committed On or After November 1, 1987)

                      BEATRIZ GUTIERREZ-RICO (1)                                            Case Number: 11CR3845·BEN
                                                                                            FD BY GREGORY T. MURPHY
                                                                                            Defendant's Attorney
     REGISTRATION NO. 27388298
     o
     THE DEFENDANT:
     ~ pleaded guilty to count(s) . :l:..,O:..F:.. . :.TH.:. :.:E:.,.:I.:. N:.:,F.:;:,O.:::..RM:.. .:A.:::..T.:. I:.. O. :.N:.. ._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___

     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s);
                                                                                                                                                         Count
    Title & Section                          Nature of Offense                                                                                          Number(s)
8 USC 1324(a)(1 )(A)(ii)                  TRANSPORTAnON OF ILLEGAL ALIENS AND AIDING AND ABETTING                                                          1
and (v)(I1)




         The defendant is sentenced as provided in pages 2 through                      3          of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s)
                                                                  ------------------------------
  o   Count(s)                                                            is 0 areD dismissed on the motion of the United States.
  Ig] Assessment: $100.00 at the rate of$IO.00 per month to commence no later than sixty (60) days after the filing of this judgment.


  Ig] Fine waived                                       0  Forfeiture pursuant to order filed                                   , included herein.
       IT IS ORDERED that the defendant shall notity the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notity the court and United States attorney of any material change in the defendant's economic circumstances.



                                                                                                                                        ,
                                                                                                     NITEZ
                                                                                     UNITED STATES DISTRICT JUDGE
                                                                                                                                                            IICR3845·BEN
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     AO 2458 (CASD) (Rev. 8/11) Judgment in a Criminal Case
                Sheet 2 -- Probation
                                                                                                                  JUdgment Page        2    of
     DEFENDANT: BEATRIZ GUTIERREZ-RICO (1)                                                                 II
     CASE NUMBER: lICR3845-BEN
                                                                        PROBATION
     The defendant is hereby sentenced to probation for a term of:
      FIVE (5) YEARS.

     The defendant shall not commit another federal, state, or local crime.
     For offenses committed on or after September J3, J 994:
     The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a control\ed
     substance. The defendant shall submit to one drug test within IS days of placement on probation and at least two periodic drug tests
     thereafter as determined by the court. Testing requirements will not exceed submission of more than      drug tests per month during
     the term of supervision, unless otherwise ordered by court.

     D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
            The defendant shall not possess a trrearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
            Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
            The defendant shall comply with tile requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
            by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
            was convicted of a qualifying offense. (Check if applicable.)
     D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
               If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
     restitution in accordance with the Schedule of Payments sheet of this judgment.
             The defendant shall comply with the standard conditions that ha ve been adopted by this court (set forth below). The defendant shall
     also comply with the special conditions imposed.

                                            STANDARD CONDITIONS OF SUPERVISION
       I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shaH not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
             a felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
             any contraband observed in plain view of the probation officer;
      II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
             officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
      13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
             criminal record or personal history or characteristics and shaH permit the probation officer to make such notifications and to confirm
             the defendant'S compliance with such notification requirement.



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       AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
                   Sheet 3 - Special Conditions
                                                                                                         Judgment-Page ---l- of
       DEFENDANT: BEATRIZ GUTIERREZ-RICO (1)
       CASE NUMBER: l1CR3845·BEN




                                              SPECIAL CONDITIONS OF SUPERVISION
18] Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
18] Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
!81 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
  psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release ofthe presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o Take  no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
!81 Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
!81 Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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